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                                      ORDERED.
         Dated: December 07, 2020




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov
In re:

UNIVERSAL TOWERS CONSTRUCTION,                      CASE NO. 6:20-bk-03799
INC.,                                               Chapter 11

      Debtor.
______________________________________/

              ORDER APPROVING DEBTOR’S EXPEDITED APPLICATION
                   TO EMPLOY OF FISHER AUCTION COMPANY
          AS AUCTIONEER AND CO-REAL ESTATE BROKER TO THE DEBTOR

          THIS CASE came on for an expedited hearing held on December 1, 2020 at 9:30 a.m. for

consideration of the Debtor’s Expedited Application to Employ Fisher Auction Company as

Auctioneer and Co-Real Estate Broker to the Debtor, and the Declaration of Lamar Fisher

submitted in support thereof (collectively, the “Application”), filed on November 25, 2020 (Doc.

No. 196). The Court, having reviewed the Application, noting the modifications to the Listing

Agreement attached to the Application announced in open Court by Debtor’s counsel, which

modifications have been incorporated into the Exclusive Real Estate Sale/Listing Contract for Sale




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of Commercial Real Property attached hereto as Exhibit A (the “Revised Listing Agreement”),

and noting no objections to the Application, as modified, it is:

          ORDERED:

          1.      The Application is APPROVED as modified in open Court and as set forth herein.

          2.      The Debtor, in accordance with § 327 of the Bankruptcy Code, is authorized to

employ Fisher Auction Company (“Fisher”) as its auctioneer and co-real estate broker pursuant to

the terms of the Revised Listing Agreement with compensation to be paid in such amounts as may

be allowed by the Court upon proper application in accordance with 11 U.S.C. §§ 330 and 331.

          3.      All compensation to Fisher shall be upon proper application to this Court in

accordance with 11 U.S.C. §§ 330 and 331, with copies served on the Debtor, the United States

Trustee, and such other parties-in-interest as the Court may direct, and paid in such amounts as

may be allowed by the Court.



Attorney Christopher R. Thompson is directed to serve a copy of this Order on interested parties
who are non-CM/ECF users and file a proof of service with 3 days of entry of this Order.




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